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Noel Grefenson, P.C.
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      Attorney for Defendant Robert A. Lund

                       IN THE UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                   PORTLAND DIVISION

UNITED STATES OF AMERICA,                    Case No. 3:18-cr-180-SI
                                             Case No. 3:19-cr-244-SI
              Plaintiff,
                                             DECLARATION OF NOEL GREFENSON
      vs.                                    IN SUPPORT OF DEFENDANT’S
                                             UNOPPOSED MOTION TO CONTINUE
                                             TRIAL
ROBERT A. LUND,

              Defendant.

      Under the penalty of perjury of the laws of the United States of America, I, Noel

Grefenson, declare that the following facts are true and correct to the best of my

knowledge and belief:

      1.      On September 5, 2019, I was appointed as counsel for defendant, Robert

A. Lund, in each of the above referenced cases.

      2.      Although I have not had an opportunity to examine the bankruptcy fraud

indictment in Case No. Case No. 3:18-cr-180-SI, I have examined the tax evaluation

and theft of government services indictment in Case No. 3:19-cr-00244-SI. This latter

indictment alleges tax evasion for tax years 1994 to 1996, which suggests that at least

some of the operative facts in issue will involve events occurring 23 to 25 years ago.

1 – DECLARATION OF NOEL GREFENSON IN SUPPORT OF DEFENDANT’S                     Noel Grefenson PC
MOTION TO CONTINUE TRIAL                                                          Attorney at Law
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In addition, this indictment alleges the use of over 160 nominee business entities to

conceal assets or income including real property title transfers to various nominee

entities and family members.

       3.      Based on the offenses charged in these indictments and my experience

litigating federal criminal cases since approximately 1994, it is not possible for me to

competently represent Mr. Lund at trial which occurs within 60 days of my appointment

as his counsel. I believe the most reasonable course of action at this time is for counsel

and Mr. Lund to discuss a meaningful trial schedule with the Court at the October 10,

2019, status conference.

       4.      Consistent with the Court’s September 3, 2019, directive, shortly after my

appointment I conferred with AUSA Seth Urham about these prosecutions and I

conferred confer with Mr. Lund about them on September 13, 2019.

       5.      Mr. Urham does not oppose a continuance of the November 5, 2019 trial

date in either case and agrees that counsel for the parties and Mr. Lund should discuss

a meaningful trial schedule with the Court at the October 10, 2019, status conference.

       6.      During my conversation with Mr. Lund on September 13, 2019, he

informed me that he has not and does not consent to voluntarily or willingly participate

in either of these prosecutions. Mr. Lund however, agreed that I could request

continuances of the scheduled trial proceedings for the reasons stated so long as the

motions provide that he does not consent to these criminal proceedings and neither the

Court nor the government may construe these continuance requests as a waiver of the

original and personal jurisdictional challenges made in his sui juris motions to dismiss

which the Court denied on September 3, 2019.
2 – DECLARATION OF NOEL GREFENSON IN SUPPORT OF DEFENDANT’S                       Noel Grefenson PC
MOTION TO CONTINUE TRIAL                                                            Attorney at Law
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       Mr. Lund and I discussed his rights to a speedy trial under the Speedy Trial Act

and he confirmed for me that he understands those rights, that a continuance of trial will

result in excludable delay and that I should address a new trial schedule with the Court

on October 10, 2019.

       7.      During my conversation with Mr. Lund, he directed me to submit a Motion

for a Faretta Hearing, Waiver of Counsel and Appointment of Standby Counsel which I

agreed to file together with this motion for consideration at the October 10, 2019, status

conference.

       8.       For the reasons stated, I believe a continuance of the November 5, 2019,

trial date in these cases is reasonable and necessary and request that the Court

address a new trial schedule and the status of my representation of Mr. Lund on

October 10, 2019.

       9.      Under Penalty of Perjury of the Laws of the United States, I declare that

the foregoing factual representations are true and correct to the best of my knowledge

and belief.

       Dated: September 17, 2019.



                                      /s/ Noel Grefenson
                                      Noel Grefenson, OSB No. 882168
                                      Attorney for Defendant Robert A. Lund




3 – DECLARATION OF NOEL GREFENSON IN SUPPORT OF DEFENDANT’S                      Noel Grefenson PC
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